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                       EXHIBIT 43
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                                     In the Matter Of:

         Explosive Kari Lake pt 2-Supreme Court Case Checkmate in two! 2 April 2024




                               AUDIO TRANSCRIPTION
                                      April 02, 2024
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·4    · · · · · · *** AUDIO TRANSCRIPTION ***

·5    · · · Explosive Kari Lake pt #2-Supreme Court Case

·6    · · · · · Checkmate in two! 2 April 2024

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23    Transcribed

24    By:· Erica Paradysz

25    Job No.: 2024-941658


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·1    · · ·MR. BYRNE:· Hey, sorry about middle of     ·1   when you don't have to do it yourself.
·2    the night -- sorry about the middle of the      ·2   · · ·Kari Lake's lawyer, Kurt Olsen, filed at
·3    night.· Nothing I can do about that. I          ·3   the Supreme Court an appeal saying, "No
·4    didn't want to wait.· And some people want to   ·4   machines in 2024 in Arizona", and with a
·5    see it in the middle of the night.· Listen,     ·5   whole bunch of new evidence.· And this
·6    big developments.· Big developments.· I need    ·6   evidence is killer.· And I'm not talking
·7    more light on me.· Oh, well, as good as it      ·7   about the evidence that's come out in
·8    gets.· Big developments.· Hey.· Good, good,     ·8   Dominion, although there's some extraordinary
·9    good.                                           ·9   evidence there too.· You're going to be
10    · · ·I am filing with this -- oh, I'll put      10   hearing that soon.· That's the stuff that
11    the attachment -- I'll put the attachment on    11   Stefanie, my lawyer, went to jail for a
12    this.· Big developments.· Filing in the Kari    12   couple days for.
13    Lake case at the Supreme Court.· Just to        13   · · ·But what we have, and these are in the
14    remind you, there's been a number of            14   affidavits in that Supreme Court filing,
15    different Kari Lake cases.· Pardon me for       15   well, there was the original filing and then
16    those who weren't here last time.               16   a supplemental motion that said, "You have to
17    · · ·Looks like I took a nice left hook.        17   hear this on an expedited basis, Supreme
18    Truth is, and cut there, I had my tooth         18   Court, because we can't wait until next
19    removed a week ago.· My face turned black and   19   year."· And that had a bunch of affidavits in
20    blue.· I just feel like the eyes in fight       20   it that I'm -- that had affidavits in it that
21    club.· I show up in college classes with        21   established how much Arizona and Dominion had
22    black eyes and stuff.· But this is right rear   22   been lying.
23    upper molar.· Okay.                             23   · · ·First of all, Dominion's machines, we --
24    · · ·Kari Lake case.· Just to refresh your      24   and by the way, these are serious.· One guy
25    memory, in court systems, there's the           25   on our side is a technologist from the Air

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·1    district court, the appellate, the Supreme      ·1   Force, 27 years doing penetration testing and
·2    Court.· That's the state and the federal.       ·2   cyber hacking testing kind of stuff for the
·3    Kari Lake has filed many cases you've heard     ·3   air force, including, I think, eight on
·4    of.· One of them was, she filed a case in the   ·4   election systems.· So the guy really knows
·5    federal district court in Arizona saying, "No   ·5   election systems.· He has demonstrated in his
·6    machines can be used in 2024 because there's    ·6   affidavit that these things, they were run on
·7    clearly ridiculously corrupt."· And all the     ·7   altered software -- they were run on altered
·8    evidence that we've gathered so far -- all      ·8   software.
·9    the evidence we've gathered so far.             ·9   · · ·There's all this hullabaloo about how we
10    · · ·The district court said, "No, too          10   have the federal government, EAC, they take
11    speculative.· We're not going to take the       11   advice from the NIST, National Institute of
12    case."· The appellate court, the Ninth          12   Standards and Technology or something, and
13    Circuit said, "No, they're correct.· It's too   13   they develop these standards and these two
14    speculative."· Well, now we have all this       14   independent laboratories called VSLIs, and
15    evidence.· We've got all the evidence, what     15   they test the equipment of machine
16    we've been -- which I'll be going through       16   manufacturers like Dominion, HART, ES&S.
17    again in a moment.                              17   · · ·Well, that's all a bunch of hokum.
18    · · ·And we filed it -- she's filed at the      18   Because, yeah, they may test and certify some
19    Supreme Court, Kurt Olsen's her lawyer, and     19   software, but at the end of the day, the
20    introduced new evidence, which you normally     20   software that was used in Maricopa, the
21    can't do as you appeal, but you can if the      21   software that was used was not what was
22    reason a lower court said something was too     22   certified.· It was not the certified
23    speculative.· When you appeal it, you can       23   software.· They swapped in some uncertified
24    introduce new evidence.· Well, we filed in      24   software.
25    mid-March a -- I say we.· Nothing's too hard    25   · · ·First of all, we know why they did it.


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·1    But even before you get to that, that's         ·1   affidavits to the Supreme Court with the
·2    illegal.· That's wildly illegal.· Two decades   ·2   appeal.· Kari Lake did.· Kurt Olsen, Navy
·3    of law about how all this stuff has to be       ·3   Seal by the way -- Kurt Olsen is a Navy Seal
·4    certified, blah, blah.· And it should raise a   ·4   that I love, a little bit older than me, but
·5    nightmare.· Why would they do that?· Why        ·5   could kick my ass, but great, big, tough Navy
·6    would they surreptitiously swap in some         ·6   Seal guy.· And I don't say that to many
·7    software?· Well, we know why they swapped in    ·7   people, but he's a tough guy.· Well, I would
·8    some software.                                  ·8   have to take him to the ground.· I'm pretty
·9    · · ·We have found, and I believe this is in    ·9   good on the ground.· But anyway, we have him
10    the filings -- if it isn't, you're learning     10   dead to rights.
11    here.· We have found 500,000 deleted images.    11   · · ·Here's what our opponents did.· Here's
12    We got a hold of the Maricopa image of the      12   what Maricopa and the Arizona Secretary of
13    hard drive.· They did everything they could     13   State did.· They refused to reply.· They were
14    to block us.· They didn't know we had gotten    14   supposed to reply to the Supreme Court a week
15    it, but we actually were able to get it.· And   15   ago to the original filing.· They didn't.
16    we found they deleted 500,000 ballots and       16   And then they were supposed to -- they had an
17    they altered another 160,000 ballots.· So       17   opportunity to reply.· They didn't.· And then
18    it's game over.                                 18   they had an opportunity to reply to our
19    · · ·We know.· I mean, we have the forensic     19   motion for expedited hearing.· And as you
20    proof they did that.· We know that they         20   know, if you followed me 36 hours ago, the
21    altered the software.· It was not run on        21   time clock on that ran out.· They didn't
22    certified software.· That's illegal.· There     22   file.
23    are people who'll come back and say, "Well,     23   · · ·Well, now, that puts them in a real
24    that doesn't prove that they did anything."     24   dangerous position, because we can now show,
25    Actually, no, it's illegal.· It's illegal.      25   and Kurt Olsen has sent them a letter

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·1    The argument stops there.· It's illegal to      ·1   documenting 50 lies that those lawyers have
·2    say that you're running it on certified         ·2   filed in their lower filings, there were 50
·3    software and run it on a package that isn't     ·3   false statements about this and that and
·4    at all certified, it's completely different,    ·4   certification and all this stuff.· They turn
·5    and it's actually got in it exactly this crap   ·5   out to be false.
·6    hole that lets this rigging occur.· So it's     ·6   · · ·Now, they can take the position, which
·7    not a theoretical or a question.· It's          ·7   I'm sure they will, that, "Hey, our clients,
·8    illegal for them to have done that.             ·8   Arizona, the Secretary of State of Arizona,
·9    · · ·In addition, Maricopa faked their logic    ·9   told us those lies.· We believe them."· Okay.
10    and accuracy testing.· By law, they've got to   10   Now you have a duty though -- but now we've
11    do the logic and accuracy testing.· They feed   11   put it all in the hands of the Supreme Court.
12    into their machines a stack of ballots with a   12   They have what's called a duty of candor and
13    predetermined number of votes, and then they    13   a duty to correct.· If they now understand
14    see the machine spits out the right number.     14   that those things they filed earlier were
15    Turns out they didn't do that in Maricopa.      15   lies, they have a duty to correct, both in
16    · · ·They did it on five spare machines that    16   the lower courts and say, "Hey, we previously
17    were not even used in the election and then     17   made filings to you on behalf of the
18    certified that they had actually done it on     18   Secretary of State of Arizona, and now we
19    all the machines.· Big flat lie.· Big flat      19   understand -- and it contains some assertions
20    lie, and that's because those machines had      20   that we got from her.· Now we understand they
21    altered noncertified software in it that had    21   were lies."
22    been corrupted by Dominion so they could make   22   · · ·They could say that, or they can say if
23    -- so it would do the rigging they needed to    23   they don't think they're lies, they can
24    do.                                             24   respond to our case at the Supreme Court and
25    · · ·And we submitted these things in           25   explain why what we are saying is lies.· They


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·1    have done neither.· They've responded neither   ·1   that was all false.
·2    to the appeal nor to the motion for expedited   ·2   · · ·Specifically, Respondents, "Arizona have
·3    hearing, and by failing to even respond, they   ·3   a duty to correct prior false material
·4    are reasserting the lie under the law.          ·4   evidence presented to the lower courts on
·5    · · ·And· this case, I'm going to -- I should   ·5   which those courts relied to find Kari Lake's
·6    have uploaded this right before.· In fact, if   ·6   appeals too speculative.· That duty to
·7    you give me 20 seconds, I'm going to pull up    ·7   correct expires when the litigation expires.
·8    another instance of Locals, and I am going to   ·8   Allowing respondents to run out the clock by
·9    upload.· I guess I can't do it while we're      ·9   waiving a response would put the Supreme
10    live.· Can I?· Tell you what?· I'll file it     10   Court's imprimatur on Respondent's
11    on -- I'm going to upload it on Telegram, the   11   misconduct."
12    filing.· And you can check my Telegram          12   · · ·And here's the beautiful concise
13    account, and you can -- check my Telegram       13   statement in two parts.· Respondents, "If
14    account.                                        14   Arizona previously knew -- if Arizona's
15    · · ·I am uploading the filing on my Telegram   15   attorneys previously knew their evidence was
16    account right now.· Okay.· Desktop,             16   false, they committed a fraud on the court
17    supplemental brief, PB.· Okay.· If you go to    17   and they committed a fraud on the Supreme
18    Telegram -- boom.· You will now see that on     18   Court by not responding."· If Arizona's
19    my account on Telegram.· You can pull up that   19   attorneys only learned of their evidence's
20    filing and track along with me.· Yeah, we got   20   falsity from Kari Lake's filing, the
21    them by -- they wish we had them only by the    21   respondents have violated their duty of
22    ass.                                            22   candor by waiving any response of themselves.
23    · · ·So if you have my Telegram account, go     23   · · ·If they only understood now because of
24    to it right now.· I just uploaded the filing    24   what Kari Lake has filed, that what they
25    made last night electronically at the Supreme   25   previously filed had 50 false statements in

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·1    Court, Petitioner Supplemental Brief.· And it   ·1   it, they had a duty to correct.· In either
·2    says, basically, lawyers from Arizona, you      ·2   case, they cannot just duck it.· And the
·3    can't duck the issue.· You are now on notice    ·3   Supreme Court should not deny a writ of cert
·4    that previous filings you've made in this       ·4   without at least making them file a response
·5    case that we're appealing to the Supreme        ·5   to what we're saying.
·6    Court have 50 lies in them, 50 false            ·6   · · ·Go on the record, Arizona.· Tell us that
·7    statements, you can't not respond.              ·7   these affidavits we've now stipulated and the
·8    · · ·You've either got to respond and say,      ·8   evidence we have found that we have filed,
·9    "Oh, my God, we realized we filed these false   ·9   say it's false or say that it's true and you
10    statements before.· We relied on our clients"   10   made a mistake earlier.· You got to do one or
11    or they got to say, "Well, we don't think       11   the other.· You can't just not respond.
12    that they were false.· We're going to say       12   Alternatively, the Supreme Court can just
13    that Byrne and Olsen and Kari Lake are all      13   grant a summary motion to grant and reverse
14    wrong about this."· They got to do one or the   14   those lower courts filings.
15    other.· They can't just duck and not file.      15   · · ·To be honest, and in addition, the
16    They have all kinds of duties -- they have      16   Arizona attorney's waiver of their brief in
17    all kinds of duties.                            17   response to us constitutes an affirmative
18    · · ·And basically, there's some beautiful      18   misrepresentation that warrants further
19    lines in here I'm going to read, that, "The     19   review.· Now that we've given all this
20    Ninth Circuit held that Kari Lake's injuries    20   evidence that shows their clients were lying
21    were too speculative.· However, that was        21   about all these major things they've been
22    based on false representations that Maricopa    22   saying -- and listen, we know a lot more than
23    County performed, required preelection logic    23   is in these cases so far.· We're just not in
24    and accuracy testing, and used certified and    24   this yet, but you'll be seeing it.
25    approved voting software."· We can now show     25   · · ·A bunch were handcuffed because some


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·1    stuff is under seal in a different case, but    ·1   broken into this system, which is child's
·2    we now have them dead to rights.· Everything    ·2   play, it's on a Microsoft system, you just
·3    we've been saying is true.· We have the dead    ·3   grab that key and you have access to all the
·4    to rights.· They lied.· They knew they were     ·4   components in the system.· Internally, you
·5    lying.· They knew they were coming up.· We      ·5   can change anything that they do, anything
·6    know that.· That's all going to be added to     ·6   they report.
·7    this.                                           ·7   · · ·So that's all demonstrable.· That's all
·8    · · ·Their failure to respond is an             ·8   known.· We know that they know it.· We can do
·9    affirmative misrepresentation of the false      ·9   it.· I can tell you now, I've got a video --
10    statements made earlier.· They could just       10   I can't make it public yet, but I got a video
11    barely, with a nudge on a wing, say, "Well,     11   where we have -- we can take a brand new
12    we didn't know that our clients were lying to   12   Dominion machine out of the box, run an
13    us."· They can't say that now.· And for them    13   election on it, feed in 100 ballots, 70
14    not to respond, those lawyers are making an     14   Trump, 30 Biden, run this little thing we
15    affirmative misrepresentation.· And we're       15   have, and it can spit out 99 Biden, one
16    saying, "You should be sanctioning them.        16   Trump.· We can spit out anything we want.· We
17    They should be disbarred."· The Supreme Court   17   can make that machine stand up and whistle
18    has the right to do all this.                   18   Dixie and leave no trace.· We know exactly
19    · · ·And why this is fantastic is the Supreme   19   how to do it, and we have a video of us doing
20    Court is now in the position.· It has so much   20   it.
21    information due to this case.· It can do        21   · · ·I'm going to make that public
22    anything it wants.· It doesn't just have to     22   eventually, but we have a video showing us
23    say, "Kari Lake, yeah, you get the right not    23   doing this on· - we set up a -- we set up a
24    to have machines in Arizona in 2024."· What     24   whole system using the Maricopa images, the
25    we have proven is this all occurred in 2020     25   images from their machines as well as Georgia

                                                 15                                                   17
·1    and 2022.· There was no legal election in       ·1   and a number of other states and on those
·2    2020 or 2022.· And the Supreme Court wakes up   ·2   machines set up with that software, we can
·3    on Wednesday morning, and a few hours from      ·3   penetrate like a knife through butter.· We
·4    now for you people, and this is all right in    ·4   can make it spit out any election results we
·5    their laps.· There was no legal election in     ·5   want and cover its tracks.
·6    2020 or 2022.                                   ·6   · · ·And it's been architected to allow
·7    · · ·Dominion, and we know they did this all    ·7   people to do this.· So they deliberately
·8    over the country, they got some software        ·8   built the system so it'd be easy to do this.
·9    certified, but then they switched the           ·9   And so, I guess if caught, the maintenance
10    software on the machine, and they faked logic   10   plan was, "Well, we didn't do that.· Yeah, we
11    and accuracy testing.· Secretaries of State     11   installed the alarm system and -- yeah, we
12    have been in on it.· County officials have      12   installed the alarm system.· Somebody broke
13    been in on it all over the country.· They've    13   in anyway.· They must be good.· It's not our
14    all known this was going on.· They faked        14   fault."
15    their logic and accuracy testing.· They faked   15   · · ·Well, yeah, they installed the alarm
16    their certification.· They got one thing        16   system and then they wrote on a post-it note
17    certified, but that's not what's in it.         17   the passcode to the alarm, and they posted it
18    · · ·And in addition, they put the Jindal       18   in the window.· So they can't say, "Oh, I
19    key, the encryption key that's supposed to --   19   guess it was just some really good hackers
20    their big defense has been, "Well, even if      20   got in."· They designed the system to do this
21    somebody did break into the system, all the     21   by leaving the encryption key in the open on
22    components of the system talk to each other     22   the system.· It's all a big farce.
23    through encrypted communications."· What they   23   · · ·The Supreme Court wakes up this morning,
24    left out is Dominion puts the encryption key    24   and they have everything they need.· They
25    in the database in open text.· So once you've   25   could overturn 2020 with what they have.· We


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·1    have now proven in these filings to the         ·1   prison, or they're going to say, "Oops, we
·2    Supreme Court, and there's more information     ·2   got it wrong before.· Those things we filed
·3    coming probably under seal, but there's more    ·3   earlier, we got all these things wrong, but
·4    information coming that the Supreme Court now   ·4   we relied on our clients."
·5    has everything it needs.                        ·5   · · ·Okay, you relied on your clients, fine,
·6    · · ·If they wanted, if they were men about     ·6   you're forgiven, but the Supreme Court, you
·7    it, if they were like judges were 100 years     ·7   got to overrule those lower courts and grant
·8    ago, they would be saying, at this point        ·8   Kari her wish that there not be machines in
·9    where it's clear, there was no legal election   ·9   Arizona really.· But if they did that,
10    in 2020 or 2022.· Our congress and our White    10   they're of course going to say in the whole
11    House are filled with people who did not win    11   United States.· And the truth is, if they
12    an election.· I don't know what it was they     12   wanted to, they have at this point every
13    did, but it wasn't an election.· It was not a   13   right.
14    legal election.· To be a legal election, all    14   · · ·I mean, the judicious thing to do would
15    these things have to be done.· Software has     15   be to acknowledge there was no election in
16    to be certified.· Logic and accuracy testing    16   2022 and there was no election in 2020.· It
17    has to be performed.                            17   was all faked.· The electronics were faked.
18    · · ·That was all faked.· The certification     18   The certifications were fake.· The testing
19    was faked.· They got something certified.       19   was fake.· And there's more to come.· There's
20    They just didn't run the machines on that       20   more to come.· So it's all over but the
21    software, and they faked the logic and          21   bleeding.
22    accuracy testing so it wouldn't show up to      22   · · ·Judges are ducking on the Supreme Court
23    anybody.· And in addition, we've got -- and     23   now if they don't sink their teeth into this.
24    we know they know it.· We know they know it     24   I mean, I don't know what we can do.· I'm
25    now.· This isn't a mistake.· We know Dominion   25   ready to throw in the jockstrap on the

                                                 19                                                   21
·1    knows all about it and we know they all know    ·1   approaches I've been taking in terms of
·2    all about it.· And I can't tell you how we      ·2   keeping this peaceful and legal and such.· If
·3    know that, but we know.                         ·3   the Supreme Court --
·4    · · ·So as of this moment, we have now          ·4   · · ·I've said this before.· I lived my whole
·5    entered the constitutional crisis.· Supreme     ·5   life as a businessman worrying about --
·6    Court of the United States has all the          ·6   everything you do, you got to think about,
·7    information it needs to -- if they want to,     ·7   well, how would this look?· And my pop always
·8    they can now throw out the 2020 election.       ·8   taught me this.· You do things such that if
·9    And by the way, we're just giving them more.    ·9   someday you're standing in front of a judge,
10    We got more to come.· A lot more to come.       10   you can say, "Well, Judge, I did this because
11    Holy cow.· If you knew some of the things I     11   of this.· This looked like the right thing to
12    know now, worse than what I've told you --      12   do."· And you got to be able to have a -- you
13    worse than what I've told you.· But there's     13   got to be able to be sincere.
14    always the legal maneuvering.· But the          14   · · ·So sometimes you get in these gray areas
15    constitutional crisis is here as of this        15   where you don't know what the right thing to
16    morning.                                        16   do is in business, but you analyze in terms
17    · · ·The Supreme Court has everything it        17   of that, "I'm going to be standing in front
18    needs, including a case from Kari Lake with     18   of a judge someday.· Whatever I do, someone's
19    all the information, all the documentation,     19   going to be able to say, well, that wasn't
20    and the other side isn't even responding.       20   the right thing to do, and that wasn't the
21    And that's why I say this is check with --      21   right thing to do."· Okay.· You want to be
22    and we're one move from mate, mate in two,      22   able to say, "Well, Judge, I put all this
23    because if they do respond, they've either      23   together and this looked as best as I could
24    got to affirm the lies they previously told,    24   do."
25    in which case the lawyers are going to go to    25   · · ·And judges spend their whole lives,


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·1    these fucking intellectuals as well --          ·1   shoes, this is how I would have -- this has
·2    they're essentially saying, "If I had been in   ·2   been the right way to make that decision."
·3    your shoes, this is what I would have done.     ·3   That's essentially what they're saying in all
·4    This is the right way.· I would have decided    ·4   these cases.
·5    that.· And if I had been in your shoes, and     ·5   · · ·Okay, you fucking pompous asses.· You're
·6    if I had been a real estate mogul, I would      ·6   the ones in the ambiguous situation now. A
·7    have valued the building this way.· And if I    ·7   faint little bit of ambiguity, but you're --
·8    had been --"· They're just these arrogant,      ·8   it's all in your lap.· Are you really going
·9    lofty intellectual snobs, like this guy who's   ·9   to take months and hem and haw and everything
10    Trump's lawyer in the real estate case in       10   while we're on the verge of war in the Middle
11    business.· Yeah.                                11   east, while we're on the verge of World War
12    · · ·Well, now the ball's in their court.       12   III in Europe, maybe on the verge of nuclear
13    They have a moral dilemma, and it's not         13   war, 15 million illegal immigrants about to
14    really a different -- it's a moral dilemma      14   cook off in the United States.
15    that it's a businessman.· With this amount of   15   · · ·Remember, Ramadan ends next Tuesday.· We
16    evidence· - if this was a case about I've got   16   got this eclipse coming.· And for some
17    to fire this guy or that guy or decide          17   reason, we're calling it the National Guard
18    between two things, with this wild amount of    18   because of a four-minute eclipse.· Maybe it
19    evidence on one side, if I did not make the     19   has something to do with we've admitted
20    decision at that point and I kept kicking the   20   millions of illegal immigrants or millions of
21    ball down the road, I'd have so many other      21   immigrants who came illegally who belong to a
22    charges on top of it from the feds about,       22   faith that believes, by the way, if you
23    "Well, clearly you knew this and you didn't     23   martyr yourself during Ramadan, I think you
24    do anything about it.· Clearly, you're          24   get extra virgins or something in heaven.
25    telling me you knew this, this, this, and       25   There's some special reward for martyring

                                                 23                                                   25
·1    this, Byrne, and yet you still thought that     ·1   yourself in Ramadan.· It ends next Tuesday.
·2    you could make a decision.· Oh, my gosh.· If    ·2   I think everything's going to cook off next
·3    I had been in that position, Mr. Byrne, as      ·3   Monday or Tuesday.
·4    the judge, I can tell you, this is how I        ·4   · · ·And with all this going on, Judges,
·5    would have decided because this is how it       ·5   you're going to hide in your robes and, "Oh,
·6    should have been."· Okay.                       ·6   well, we need to study, study.· We don't want
·7    · · ·Judges, Justices of the Supreme Court,     ·7   to be -- we don't want to do anything too
·8    at least three of them, as far as I can tell,   ·8   abrupt or we don't want to have to make --"
·9    are serious people, and six of them -- and      ·9   · · ·I'd love to see a businessman in that
10    three of them are not, and three of them        10   position with some analogous situation with
11    remains to be seen.· Here's your chance.        11   the amount of evidence in front of him and
12    You're not just Monday morning                  12   have to stand in court someday and say,
13    quarterbacking.· Here you are in an ambiguous   13   "Yeah, I didn't make the decision because I
14    situation with arguably an incomplete set of    14   decided I needed to study it some more and
15    facts, but it's about -- I won't even concede   15   this and that."· The judge would throw the
16    it's incomplete.· It's absolutely as complete   16   book at a businessman like that.
17    as it needs to be for you to make a decision.   17   · · ·Well, the shoe's on the other foot now,
18    · · ·If you guys are going to hem and haw and   18   Justices.· Holy cow, are you an
19    stall and everything else, yeah, just think     19   embarrassment.· Are you an embarrassment?
20    of just every judge's decision around the       20   You really are.· You think you're going to
21    country about business and how somebody fired   21   get away with this in history?· John Roberts,
22    somebody that maybe they shouldn't have, or     22   you who think, "Oh, I need to preserve the
23    they think they should have or they think --    23   reputation of the court", do you think
24    and the judge is always really essentially      24   there's going to be any reputation to this
25    saying, "Mr. Jones, if I had been in your       25   court if we survive as a country and people


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·1    look back historically and they see the         ·1   backbone, they would been say, "Okay.· It's
·2    amount of evidence that's there and a clear     ·2   time to throw in the towel.· There was no
·3    shot for you to do something and you,           ·3   legal election.· The 2022 and 2020 elections
·4    Justices, you intellectual snobs, sit there     ·4   are null and void.· There was no election.
·5    wringing your hands about, "Well, we probably   ·5   We now understand it was all faked.· The
·6    need to study this for another three years"?    ·6   certification was faked.· The logic
·7    You're absurd.                                  ·7   inaccuracy was fake.· The encryption was
·8    · · ·So I will be -- this case has so many --   ·8   fake.· It's all fake."· Okay?
·9    the respondent's duty of candor to court        ·9   · · ·And they haven't even seen what we have
10    converts their waivers of the brief and         10   found in our case in Dominion.· Dominion's
11    opposition to affirmative statements.· This     11   suing me and Lindell and other people in DC.
12    is a great point.· By not responding to our -   12   Now, Stefanie gave a whiff of that to Sheriff
13    - to Kari Lake -- I keep saying our, but        13   Dar Leaf in a criminal investigation and she
14    we're the good guys -- to the good guys         14   ended up leaving the court in leg iron.· So
15    filings the Supreme Court, by not responding,   15   she's not going to do that again.· But I can
16    their not responding effectively are            16   tell you that a motion has been filed as well
17    affirmative statements, affirmative statement   17   in that court in DC telling the judge, "This
18    saying, "Oh, those things we've said to lower   18   has gotten absurd.· Here's all these
19    courts are true."                               19   documents that now show not only has what
20    · · ·Well, if you're affirmatively saying       20   Dominion been saying is false, they know it's
21    that after you've been put on notice through    21   false and they've taken active steps
22    these affidavits what the truth is and you're   22   internally to cover it up."
23    not even responding to them, you are            23   · · ·And you can't believe what they know
24    affirmatively reasserting statements that you   24   internally.· You cannot believe what they
25    now have every reason to know are false.· So    25   know internally.· They know internally that

                                                 27                                                   29
·1    the lawyers for Dominion and Arizona            ·1   we're right, and that we've been right from
·2    shouldn't only be notifying their carriers,     ·2   the beginning.· I would love to tell you one
·3    they should be getting sized for orange         ·3   thing, but I can't.· They've known all along
·4    jumpsuits.· They certainly are going to get     ·4   that we were right, and they knew all along
·5    disbarred.· I mean, they're certainly going     ·5   they had to cooperate to cover it up.
·6    to get disbarred.                               ·6   · · ·And we're making a motion to that judge
·7    · · ·So because they are now affirmatively      ·7   today so all this gets -- and it's in my
·8    lying to the Supreme Court by refusing to       ·8   language and I'm letting them know I've got
·9    respond to us, that converts their failure to   ·9   an ethical duty.· I'll go to prison before I
10    answer into an affirmative reassertion of       10   -- I mean, I'm giving -- Stefanie released
11    these false claims below.· So now they're       11   that stuff to Sheriff Dar Leaf.· It wasn't at
12    lying to the Supreme Court.· They are           12   my instruction.· She felt a need to do it.
13    certainly going to get sanctioned.· They        13   But now that I know what I know and have the
14    certainly should be disbarred.· I think they    14   emails I have and everything, I understand
15    should certainly go to prison.                  15   why Dominion went so frantic about keeping
16    · · ·Or they just have to respond.· But if      16   all this sealed.· But I'm not just going to
17    they respond, either they explain why our       17   release it willy-nilly.
18    statements and our proof and everything we      18   · · ·We're doing the right -- the judge lost
19    have found forensically is false or they say    19   his shit because Stefanie released that stuff
20    it's true, but in which case we win.· If they   20   to a law enforcement officer.· Now, her
21    say it's true, then not only should the         21   answer was, "If I found a head in the
22    Supreme Court say, "Okay.· Kari Lake, there's   22   Dominion discovery box, I had a duty to take
23    not going to be machines in Arizona", they      23   that to the sheriff anyway.· It doesn't
24    should also say there's not going to be         24   matter what contract I signed with Dominion
25    machines in the US, and if they had any         25   to keep things private.· You can't have a


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·1    private agreement to cover up a crime."         ·1   about some misgivings people had and were
·2    · · ·But the establishment and the look Judge   ·2   getting worried -- (door bell rings) I think
·3    has been saying, what you should have done      ·3   that's the main or something.· Standby.· Hi.
·4    is, per Rule 43 b, IV, applied to lift the      ·4   Could you come back in an hour, please?· Or
·5    seal and then this and that, maybe -- so        ·5   even half an hour.· Thank you.
·6    that's what we've done this time, and it's      ·6   · · ·I shouldn't say fuck you to a judge,
·7    been filed this morning at the district court   ·7   this judge in particular, because he has not
·8    in DC saying we want this whole discovery       ·8   been, I think -- what I understand, he's been
·9    agreement with Dominion purist.· We have        ·9   fair, but I'm saying fuck you to the judicial
10    found absolute proof of massive criminality     10   system.· This is crazy, what we have.· We got
11    that we need to expose to the 50 states, to     11   to go through all this kabuki dance.· But we
12    the federal government, to the people who are   12   are giving him the respect this time of
13    making the decisions about this all.· It's      13   allowing him the opportunity to unseal this.
14    absolutely incorrect, Judge, to tell us we      14   · · ·But I'm affirmatively saying, I don't
15    have to honor that agreement to keep these      15   care.· I have it now.· I have it on my
16    crimes secret.                                  16   machine.· I'm not in the country.· This stuff
17    · · ·And I'm telling you here, and Judge,       17   doesn't get unsealed, I'm just going to make
18    with all due respect, you decide what you       18   it public.· You can throw me in jail.
19    want.· We're giving you the honor this time     19   Because we know we're right, and you're
20    of going through the steps that Stefanie        20   covering up if you don't let this -- the
21    evidently was supposed to do last time.· But    21   whole nation hinges on this.· You obviously
22    there's no chance in hell I'm not going to      22   have a duty, Your Honor, to unseal this
23    make this public.                               23   Dominion case.· And I'm going to do it anyway
24    · · ·I mean, I'm giving -- so you can throw     24   if you make the wrong decision and you throw
25    me in prison as long as you want.· I'm going    25   me in prison.· And I mean that.· Somebody

                                                 31                                                   33
·1    to make this stuff public.· So I hope you       ·1   asked, somewhere I ain't been before, like
·2    make the right decision, but I'm not going to   ·2   Tahiti.
·3    keep this quiet.· I'm going to give you time    ·3   · · ·We have them.· And now, however they
·4    to make the right decision.· And if you make    ·4   respond, it's me.· Okay?· So we're mate in
·5    the wrong decision, I'm just going to do the    ·5   two on these guys.· The constitutional crisis
·6    right thing anyway and you throw me in jail.    ·6   is here.· Okay?· The constitutional crisis is
·7    Fuck you.· No, I shouldn't say that.            ·7   here.· The Supreme Court has everything it
·8    · · ·So far, I got to say the judge in DC,      ·8   needs.· My argument would be like -- I used
·9    he's actually been fair.· He has not done       ·9   to teach MLK's letter from a Birmingham jail,
10    anything -- I think he went after Stefanie      10   and it was he violated a court order.· Well,
11    hard and throwing her in leg irons and          11   he didn't.· He tried to get a permit to march
12    cooperating with his bullshit Michigan bench    12   and Birmingham, they wouldn't give him a
13    warrant for not appearing, which looked to me   13   permit.· He marched anyway.· He went into
14    like her own lawyer set her up to make her      14   prison.· I got choked up.
15    miss an appearance.                             15   · · ·I think it was Abe Fortas, some
16    · · ·Something's happening to lawyers around    16   intellectual doofus wrote this Supreme Court
17    us.· They get turned, they get bought, just     17   decision that said, "Well, even though they
18    like these Republican congressmen are getting   18   were wrong not to give you the license to
19    turned or bought.· Tina Peters had a lawyer     19   march that you should have, we need to have a
20    that I paid a million dollars for.· I'm going   20   system where people follow the laws, and when
21    to tell you this story.· Tina Peters had a      21   judges say this, you got to follow it.· Blah,
22    lawyer that I paid a million dollars for.       22   blah, blah."
23    His name's Doug Richards.· Doug Richards, a     23   · · ·Martin Luther King wrote in the margins
24    week before Tina Peters was supposed to be      24   of the newspapers in the Birmingham jail the
25    going to trial in February -- and I heard       25   letter from Birmingham jail looking up, and


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·1    it's just about, at some point, you can't --    ·1   had no witnesses, and his defense strategy
·2    at some point, a citizen has to take matters    ·2   was to put Tina Peters on the stand and have
·3    into his own hand.· I'm not going to keep       ·3   her say, "Well, Kurt Olsen told me to image
·4    this silent.· I'm going to give the court in    ·4   that hard drive, so I did."· Well, Kurt Olsen
·5    DC the opportunity to review and do what they   ·5   made clear to her that he wasn't her
·6    should do, but it would be an offense to the    ·6   attorney.· He was the president's attorney,
·7    United States not to make this evidence         ·7   first of all, and he told me that at the
·8    public.                                         ·8   time.· And Doug Richards's point was to say,
·9    · · ·I'm confident he's going to do the right   ·9   "Well, she thought he was his attorney."
10    thing because I actually have heard -- the      10   · · ·In addition, California does not have a
11    one judge I've not heard any complaints         11   legal advice exception.· So that defense
12    about, not that he's been favorable to us by    12   would have done no good whatsoever.· You
13    any means through this whole Dominion           13   can't argue in Colorado, "Well, I did
14    lawsuits against us, but I heard he's been      14   something because my attorney told me to."
15    square all along -- and I can understand why    15   That's not a defense.· But his strategy was
16    he got ticked off at Stefanie, but she's done   16   to put her on the stand and just get everyone
17    it right this time and she's filing that all    17   to fall in love with his wonderful 68-year-
18    this gets unsealed.· I think that's being       18   old grandmother.· That's what he said the
19    followed by -- the same kinds of things being   19   strategy was, so basically jury
20    followed by other people.· We've all found it   20   nullification.
21    in the discovery now.                           21   · · ·He wasn't making any -- he wasn't going
22    · · ·And so we're there.· We're at the          22   to make any arguments that what she did was
23    constitutional crisis.· And I'm actually        23   right, that she had the right to do it, and
24    going to set this up so even if I get           24   that she found extraordinarily valuable proof
25    arrested, it's under dead man's switch.· So     25   of fraud.· He should have made those his

                                                 35                                                   37
·1    if I get arrested, it will get released, and    ·1   motions in the months he had to make those
·2    I'll come back to the United States and face    ·2   his motions.· So now Tina Peters happened to
·3    the music.· Okay?· Wait till you see.           ·3   be sick as a dog as all this was going on at
·4    There's four emails that just -- if we'd had    ·4   the same time.· She really was.· I was
·5    these three years ago -- if we had these        ·5   worried about -- I was worried about her.
·6    three years ago, this whole thing would have    ·6   She was so sick, and she didn't -- I mean, we
·7    been over.                                      ·7   were not --
·8    · · ·Oh, I was telling you about Tina Peters.   ·8   · · ·So she fired the attorney at the last
·9    This lawyer, Doug Richards, to whom I paid a    ·9   step.· She fired the attorney and got the
10    million dollars to defend Tina Peters, he       10   thing -- and she wasn't going to represent
11    showed up -- and fuck you, Doug.· Yeah, file    11   herself.· She has a right to counsel, she was
12    libel against me.· Love it.· Throw me in that   12   sick, and the judge -- it was all a railroad.
13    briar patch.· A week before or three days       13   In Colorado, it was all a big railroad.· And
14    before Tina was to go to trial, I heard that    14   Doug Richards and the judge, who knows what
15    there were real misgivings.· I went out there   15   they were on.· He had designed the most
16    to interview him, and he didn't want to --      16   ineffectual defense possible.
17    · · ·I said, "Sir, I've spent a million         17   · · ·And it sure looks to me now what Doug
18    dollars to you.· I want to hear your theory     18   Richards of Colorado was doing was going to
19    of the case before you go into trial next       19   get Tina Peters to get on the stand and make
20    week."· His theory of the case -- he came       20   that defense.· He had no other witnesses on
21    resentfully to my hotel room, unbeknownst to    21   his witness list.· A criminal defense
22    him, when he got there, he was on a Zoom call   22   attorney only puts his own witness on the
23    with a bunch of other criminal defense          23   stand as the last resort.· And to put his own
24    attorneys.· His theory was ridiculous.          24   witness -- I mean, his own client on the
25    · · ·His theory was to put Tina Peters -- he    25   stand is the last -- and to put her on the


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·1    stand with not another witness and to hang      ·1   · · ·And yeah, she snuck somebody in, a
·2    the whole case on her saying, "Well, Kurt       ·2   friend of mine, a cyber guy, a dolphin
·3    Olsen told me to do this, and I thought that    ·3   speaker, who's one of the greatest athletes
·4    was legal advice, so I did it."                 ·4   in the world, and, I mean, he's a BJJ black
·5    · · ·A, under Colorado law, that's nugatory.    ·5   belt, Brazilian jujutsu, as well as one of
·6    It has no effect, the fact it was legal         ·6   the greatest surfers in the world, the
·7    advice, so it would not have done her any       ·7   pioneer of one of the five pioneers of big
·8    good.· She would have been sent to prison for   ·8   wave surfing.· But he was in the county
·9    25 years, and it would have allowed Colorado    ·9   offices in Colorado, dressed in a plaid shirt
10    to indict Kurt Olsen and through him 45.· So    10   with a pocket protector and with a name tag
11    his defense was, as far as I can tell, a        11   that said Billy or something.
12    sucker trap to get Tina Peters to say stuff     12   · · ·By the way, the actual employee, Billy,
13    on the stand that would let them then indict    13   had absolutely given him permission, him and
14    Kurt Olsen as attorney and 45, and because --   14   Tina Peters's permission, to use the name
15    he couldn't be that dumb.                       15   card and everything to go do this.· Now, he
16    · · ·I mean, his defense was so weak and        16   later denied that to save his own ass, but he
17    ineffectual the four or five criminal defense   17   absolutely gave them permission.· He was part
18    attorneys that were on the Zoom call            18   of this whole scheme.
19    listening to this, they blew a gasket.· And     19   · · ·So they did nothing wrong.· Tina did
20    he did just like these Arizona attorneys, he    20   nothing wrong.· This should all have been
21    couldn't even respond.· Could not even          21   filed as motions in her case, so the charges
22    respond.· But he was a bottom above having to   22   would have just been knocked out.· It would
23    respond to any of this.· Well, it was because   23   never have gotten to a trial.· And this guy,
24    his -- I think his whole defense strategy       24   Doug Richards, not only didn't he file any of
25    would not only have landed Tina in jail for     25   them, not only did he create a defense

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·1    25 years, it would have let them immediately    ·1   strategy -- there was no defense strategy at
·2    indict Kurt Olsen and Donald Trump.· That was   ·2   all, just putting this nice lady up there and
·3    his defense strategy.                           ·3   hoping the jury fell in love with her.
·4    · · ·I think these attorneys all over are       ·4   · · ·But in addition, now that Stefanie has
·5    getting bought and turned or promised federal   ·5   filed these motions, the motions that he
·6    judgeships or something.· Doug, I hope you      ·6   should have filed, he wrote Stefanie a nasty
·7    sue me for that, really.· Litigation is a       ·7   gram yesterday about how horrified he is that
·8    core competency.· Let's get it on.· I think     ·8   she's filing these things now, which every
·9    you sold out your client.· Let's get it on.     ·9   other lawyer involved says of course these
10    I know that I put you in front of four or       10   should have been filed.· These charges should
11    five criminal defense attorneys, and they all   11   never exist.· They should file motions to say
12    said that they were horrified at your           12   there's no crime when the county recorder
13    strategy.                                       13   makes a backup.· It says right in the law
14    · · ·Meanwhile, Stefanie Lambert took that      14   that she can make a backup.
15    case too.· Stefanie Lambert, who's under        15   · · ·And the county recorder, the recorder
16    indictment in Michigan, who's in leg irons in   16   part is you're supposed to keep the records
17    Washington, DC, she became Tina Peters's        17   of the county.· And she suspected that the
18    attorney, and she has filed motions that        18   election records were going to be erased, and
19    should have been filed ages ago, saying,        19   so she secretly caused a backup to be made.
20    "Look, it's black and white.· She's the         20   Sounds to me like she was doing her job.
21    county recorder."· Tina Peters was the county   21   They didn't even make that argument.· If
22    recorder.· She absolutely had the right to do   22   they'd made that argument and -- just to get
23    this.· The law specifically says she has the    23   the charges thrown out.· I mean, it's so
24    right to make a backup.· Is it anything about   24   absurd all along.
25    who or how she makes the backup?                25   · · ·So we've had corrupt attorney -- we get


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·1    attorneys who get corrupted, or I think they    ·1   in the same argument as MLK letter from a
·2    get promised federal judgeships or all kinds    ·2   Birmingham jail.
·3    of things to sell out their clients.· It's      ·3   · · ·At this point, I just feel like saying I
·4    been so hard finding a good attorney.· Well,    ·4   don't care what a judge says.· I mean, I want
·5    the other reason is because the state bar       ·5   to give them the respect of giving them the
·6    associations and project 65 or whatever,        ·6   time to say something.· But at the end of the
·7    there's been a mass coordinated national        ·7   day, if they don't say the right thing, I'm
·8    effort to deprive people of their Sixth         ·8   going to do what has to be done, and I'll
·9    Amendment rights.                               ·9   take the jail time.· Okay.
10    · · ·We all have rights to attorneys, but any   10   · · ·So sorry to wake you up in the middle of
11    attorney who picks up a pen to help us finds    11   the night, but this seemed -- and I will be
12    himself up on grievances, on sanctions.· Look   12   uploading it momentarily the -- I will be
13    at John Eastman.· John Eastman, the dean of a   13   uploading momentarily the brief.· Okay?· Oh,
14    law school, one of the most revered             14   Aubrey.· Yeah, Steph Lambert, her statue next
15    constitutional lawyers in the country, who      15   to Lindell's.· Lindell, there's going to be a
16    gave advice through this, they've now           16   mountain somewhere with his face carved on
17    recommended disbarring him for helping the      17   the side.· Sidney.· We can't share it with
18    president challenge -- giving him advice on     18   Sidney, but we can tell Sidney, "Hey, you
19    how to challenge this cockamamie, the most      19   have discovery too.· You got five million
20    corrupt election in history.                    20   documents.· Go and look up document
21    · · ·So there's a concerted effort by a bunch   21   1,000,319.· Do you see that?"· So we can do
22    of lawyers, including state bars, a very        22   that.
23    well-orchestrated effort to deprive people of   23   · · ·Listen, Aubrey in Texas, Aubrey, Flynn
24    their Sixth Amendment rights in furtherance     24   is always saying -- General Flynn is always
25    of a coup.· I wonder how that's going to look   25   saying -- I'm sorry I call him Flynn to you

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·1    when you guys get put on trial.· I wonder       ·1   people.· I've apologized to him sometimes,
·2    what that looks like.· So we have these guys.   ·2   but Flynn is such a great name.· You just
·3    · · ·By this time, I hope you've downloaded     ·3   want to say, "Hey, Flynn.· Flynn says this,
·4    my Telegram thing.· I'll also upload it into    ·4   Flynn says that."· There's some detective
·5    this Locals channel, and you can read this      ·5   books about Flynn.
·6    filing that's been made to SCOTUS.· And like    ·6   · · ·Yeah, you know how General Flynn's
·7    I say, the constitutional crisis is on.· The    ·7   always saying local action makes national
·8    Supreme Court, as of last night at about        ·8   impact?· There's a woman in Aubrey in Tarrant
·9    10:00 p.m. Washington time, has everything it   ·9   County, Texas, which is Dallas Fort Worth,
10    needs.                                          10   about two and a half million people in it,
11    · · ·And I don't mean to be nasty to that       11   that says that she's been fighting.· She's a
12    judge.· The one judge who I've heard is a       12   great organizer, a great fighter, is a little
13    fair judge -- again, not on our side, not       13   quirky.· She's like a female Seth Keshel and
14    just that I've heard has been like,             14   a little bit on the spectrum, but she's a dog
15    reasonable for this whole thing -- is the       15   with a bone.· And she's been doing great
16    judge -- there's one judge in DC who has all    16   organizing in Tarrant County and on and on.
17    the Dominion libel lawsuits against Lindell,    17   · · ·And yesterday, and there's a video of
18    me, I think Sidney, Rudy Giuliani.· Our cases   18   this, I posted it on Twitter, they had a vote
19    are all different.                              19   in Tarrant County, and the county supervisors
20    · · ·But I don't want to slag him, and not      20   voted to implement ballots that are numbered.
21    just because I have a case in front of him.     21   There were five county commissioners.· One
22    I try to do what's fair.· And he, I             22   abstained because it's all about directing
23    understand, is like the only straightforward    23   him to do something, so he abstained.· And
24    judge so far.· But this is ridiculous.· What    24   the motion was to have ballots numbered,
25    I now have under seal, it puts me very much     25   which makes it harder for people to stuff


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                                                 46                                                   48
·1    ballots if they're numbered sequentially.       ·1   · · ·CERTIFICATE OF TRANSCRIPTIONIST
·2    · · ·And it's interesting, if you go to my      ·2
·3    Twitter and look at the two-and-a-half-minute   ·3   · · ·I, ERICA PARADYSZ, do hereby certify:
·4    vote and see -- so there's five counted         ·4
·5    commissioners, but one abstained, so there's    ·5   · · ·That said audio transcription is a true
·6    four.· And the vote was three to one.· Watch    ·6   record as reported by me, a disinterested
·7    the woman who voted against it.· She has no     ·7   person.
·8    reason that she can articulate why she voted    ·8
·9    against it.· They understand that by            ·9   · · ·I further certify that I am not
10    tightening up the election system -- they       10   interested in the outcome of said action, nor
                                                      11   connected with, nor related to any of the
11    understand there's a whole bunch of
                                                      12   parties in said action, nor to their
12    corruption in the system, and all these moves
                                                      13   respective counsel.
13    to tighten up disadvantage them, but they
                                                      14
14    can't come out and say that.· So they just
                                                      15   · · ·IN WITNESS THEREOF, I have hereunto set
15    look like this woman in the video I posted on
                                                      16   my hand this 10th day of May, 2024.
16    Twitter.· Okay?· Yeah.
                                                      17
17    · · ·Oh, we're going after these -- Kurt        18
18    Olsen, in this filing, we're going to go        19   · · · · _____________________________________
19    after the Arizona and the Dominion lawyers.     · · ·· · · · Erica Paradysz
20    They have to be sanctioned, they have to be     20
21    disbarred, or they have to switch sides.        21
22    They cannot knowingly lie to a court.· And at   22
23    this point, they are knowingly lying if they    23
24    keep flogging this dead horse that they're      24
25    flogging.· Okay?· I'm going to pop.· Sunny      25

                                                 47
·1    here,· I'm going to go catch some rays, swim.
·2
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